Case 23-10763-amc   Doc 628-1 Filed 05/02/24 Entered 05/02/24 22:22:46   Desc
                    Exhibit 1 - Proposed Order Page 1 of 3




             EXHIBIT 1
Case 23-10763-amc        Doc 628-1 Filed 05/02/24 Entered 05/02/24 22:22:46                   Desc
                         Exhibit 1 - Proposed Order Page 2 of 3



                     UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                                  Chapter 11

Stream TV Networks, Inc., (Stream)                      Bky. No. 23-10763 (MDC)

               Debtor.

In re:                                                  Chapter 11

Technovative Media, Inc., (Technovative)                Bky. No. 23-10764 (MDC)

               Debtor.                                  (Jointly Administered)


 ORDER DISALLOWING AND EXPUNGING PROOFS OF CLAIM NO. 6 FILED BY
HAWK INVESTMENT HOLDINGS LTD., “AS COLLATERAL AGENT,” NO. 9 FILED
     BY SLS HOLDINGS VI, LLC, AND NO. 14 FILED BY SEECUBIC, INC.

         Upon the Objection of Rembrandt 3D Holding Ltd. (“Rembrandt”), pursuant to

 sections sections 105(a) and 502 of title 11 of the United States Code (the “Bankruptcy

 Code”), Rules 3007 and 9014 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”), Rule 3007-1 of the United States Bankruptcy Court of the Eastern

 District of Pennsylvania Local Bankruptcy Rules (the “Local Rules”), seeking entry of an

 order (this “Order”) disallowing the Disputed Claims and granting related relief, all as more

 fully set forth in the Objection; and the Court having jurisdiction to consider the Objection and

 the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334. This matter is a

 core proceeding within the meaning of 28 U.S.C. § 157(b)(2); and due and proper notice of

 the relief requested in the Objection having been provided; and it appearing that no other or

 further notice need be provided; and such notice having been adequate and appropriate under

 the circumstances; and upon all of the proceedings had before the Bankruptcy Court; and the

 Bankruptcy Court having determined that the legal and factual bases set forth in the Objection
Case 23-10763-amc        Doc 628-1 Filed 05/02/24 Entered 05/02/24 22:22:46                      Desc
                         Exhibit 1 - Proposed Order Page 3 of 3



 establish just cause for the relief granted herein; and after due deliberation and sufficient

 cause appearing therefor,

          NOW, THEREFORE, it is hereby ORDERED that:

          1.   The Objection is granted to the extent set forth herein.

          2.   Pursuant to sections 105(a) and 502 of title 11 of the United States Code

 (the “Bankruptcy Code”), Rules 3007 and 9014 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”), Rule 3007-1 of the United States Bankruptcy Court

 of the Eastern District of Pennsylvania Local Bankruptcy Rules (the “Local Rules”), the

 Disputed Claims are disallowed and expunged in its entirety.

          3.   The terms and conditions of this Order shall be immediately effective

 and enforceable upon its entry.

          4.   Rembrandt and the Clerk of the Court are authorized to take all steps

 necessary or appropriate to effectuate the relief granted pursuant to this Order.

          5.   The Bankruptcy Court retains jurisdiction with respect to all matters arising

 from or related to the implementation, interpretation, and enforcement of this Order.



 Dated:                                    ____________________________________
                                           The Honorable Ashely M. Chan
                                           United States Bankruptcy Judge
